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         In the United States Court of Federal Claims
                                      No. 04-1478C
                                  (Filed: May 26, 2006)


 *******************                    *
                                        *
 CAPITOL INDEMNITY                      *
 CORPORATION,                           *
                                        *
                    Plaintiff,          * Equitable Subrogation; Payment Bond
                                        * Surety; Notice of Contractor’s Default
            v.                          *
                                        *
 THE UNITED STATES,                     *
                                        *
                    Defendant.          *
                                        *
 *******************                    *



       Irwin L. Kass, Madison, MI, for plaintiff.

       Tara Kathleen Hogan, U.S. Department of Justice, Washington, DC, with whom were
Peter D. Keisler, Assistant Attorney General and Director David M. Cohen, for defendant.

      Edward Graham Gallagher, Vienna, VA, for Amicus Curiae Surety Association of
America.

                                      OPINION

FIRESTONE, Judge.

       Pending before the court is a motion by the defendant, the United States

(“government” or “United States”), to dismiss the complaint of the plaintiff, Capitol

Indemnity Corporation (“plaintiff” or “Capitol Indemnity”) for failure to state a claim

upon which relief can be granted, pursuant to Rule 12(b)(6) of the Rules of the United
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States Court of Federal Claims (“RCFC”). The government contends that the plaintiff, a

Miller Act, 40 U.S.C. §§ 3131-3134 (2000 & Supp. 2002), surety of a government

contractor who fulfilled its obligations only under a payment bond on a government

construction contract, may not state a claim against the United States pursuant to the

doctrine of equitable subrogation.1 Because the plaintiff only paid subcontractors

pursuant to its payment bond obligations, the government argues that the plaintiff’s claim

for reimbursement of its costs through the doctrine of equitable subrogation must be

dismissed.2 In the alternative, the government argues that even if the plaintiff may

maintain a claim for equitable subrogation, the plaintiff’s failure to notify the government

of the prime contractor’s default on its obligations to its subcontractors is fatal to its

equitable subrogation claim as a matter of law. For the reasons that follow, the court

finds that a payment bond surety may maintain a claim for equitable subrogation, but that



       1
          In general, that doctrine provides that a surety who provides a bond guaranteeing the
performance of a contract and who performs its obligations under that bond following contractor
default may step into the shoes of another and assert that person’s rights in seeking
reimbursement of its costs. The government does not dispute that if the plaintiff had been called
upon to take over and complete performance of the contract at issue pursuant to its performance
bond obligations, then the plaintiff would be subrogated to the rights of the prime contractor. As
a result, a performance bond surety would be able to step into the contractor’s privity of contract
with the government, and therefore would be able to rely on the waiver of sovereign immunity
contained in the Tucker Act, 28 U.S.C. § 1491 (2000), to sue the United States for payment.
       2
          The government contends that because the plaintiff merely paid subcontractors pursuant
to its payment bond obligations, the plaintiff is only subrogated to the rights of those
subcontractors, who are not in privity of contract with the government and who therefore cannot
sue the United States under the Tucker Act. Because the plaintiff is not in privity of contract
with the government either, the government contends that the plaintiff may not sue the United
States in this court.

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the plaintiff’s equitable subrogation claim must be dismissed on the merits. The

government’s motion to dismiss this claim is therefore GRANTED.

                                     BACKGROUND

       The following facts are taken from the plaintiff’s complaint and are presumed to

be true for purposes of the government’s motion to dismiss. On or about September 26,

2002, the Department of Veterans Affairs (“VA”) awarded Contract Number V69DC-

506-8a to replace ARF chillers at the VA Medical Center in Milwaukee, Wisconsin, to

R&T Mechanical Contractors, Inc. (“R&T”) for $579,257. R&T was required by the

Miller Act, 40 U.S.C. §§ 3131-3134, to obtain performance and payment bonds from a

surety in order to secure R&T’s performance of the contract. On November 22, 2002, the

plaintiff, as surety for R&T, issued performance and payment bonds which contained the

following condition: “All contract funds relating to this project are to be sent to Northern

Escrow, Inc. for distribution.” Compl. ¶ 6. The plaintiff had hired Northern Escrow, Inc.

(“Northern”) to administer the contract by receiving progress payments from the United

States and distributing the funds in accordance with the contract. The plaintiff, with

R&T’s assent, included this payment provision in the bonds due to its concerns about

R&T’s ability to satisfy its obligations to its subcontractors, suppliers, and materialmen.

The bonds were accepted by the United States.

       On December 5, 2002, the United States received R&T’s first progress report and

progress payment application. The progress report stated that R&T had completed only



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5% of the work required by the contract, although scheduled completion was 24%.

Notwithstanding this discrepancy, the United States authorized a progress payment of

$28,460 and paid this amount directly to R&T, rather than to Northern. The United States

did not obtain the plaintiff’s consent to pay R&T directly.

       On December 24, 2002, the United States received R&T’s second progress report

and progress payment application. The progress report stated that 12% of the contract

was complete, while the payment application stated that 52% of the contract was

complete. Scheduled completion was 35%. Notwithstanding this additional discrepancy,

the United States again authorized a payment, this time in the amount of $274,674, and

again sent this payment directly to R&T, rather than to Northern, without the plaintiff’s

consent.

       On February 5, 2003, the United States received R&T’s third progress report and

progress payment application. This time both the progress report and the payment

application indicated that the contract was only 19% complete, although scheduled

completion was 58%. The United States again authorized payment, in the amount of $38,

942.00, and sent this payment directly to R&T, rather than Northern, without the

plaintiff’s consent.

       The first three progress payments totaled $342,166.00, representing 60% of the

contract price. Following these three payments, the United States sent the remaining five




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progress payments to Northern, rather than to R&T.3 However, R&T failed to properly

pay its subcontractors, suppliers, and materialmen, and therefore defaulted on the contract

with the United States. The subcontractors, suppliers, and materialmen filed claims

against the bonds, and thus far the plaintiff has been required to pay $113,556.00 to these

parties. The plaintiff demanded that the United States reimburse it in the amount of

$113,556.00, discharge the plaintiff from any further bond obligations totally or pro tanto,

and hold the plaintiff harmless from any pending unpaid claims. The United States

rejected the demand.

       On September 20, 2004, the plaintiff filed its complaint in this court seeking

reimbursement of the $113,556.00 it has paid to subcontractors, pro tanto discharge, to be

held harmless from any pending unpaid claims, attorney’s fees, interest, and costs. One

of the plaintiff’s arguments is that it is entitled to reimbursement from the United States

pursuant to the doctrine of equitable subrogation. Under this doctrine, the plaintiff argues

that, as a surety, it is entitled to be subrogated to the rights of R&T and any

subcontractors it paid in any contract funds held as security by the United States. The




       3
         Although it was not alleged in the complaint itself, apparently R&T executed an
assignment instrument assigning R&T’s right to be paid to Northern on November 26, 2002.
Pl.’s App. 12. However, due to drafting errors, the instrument did not qualify as an assignment
under the Assignment of Claims Act, 41 U.S.C. § 15 (2000). After suggesting changes which
were then inserted into another assignment instrument, the government finally acknowledged the
assignment of R&T’s right to be paid to Northern as qualifying as an assignment under the
Assignment of Claims Act on February 20, 2003. Pl.’s App. 21-22. The complaint does not
allege that there was a valid assignment of R&T’s payment right at the time that the first three
progress payments were made.

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plaintiff argues that the United States abused its discretion by disbursing those contract

funds directly to R&T rather than to Northern for the first three progress payments, and

that therefore it is entitled to reimbursement from the United States for the amounts it has

paid to subcontractors.

       On June 3, 2005, the government moved to dismiss the plaintiff’s complaint for

failure to state a claim upon which relief can be granted. The government argues that

because the plaintiff only fulfilled the obligations of its payment bond, the plaintiff is only

subrogated to the rights of the subcontractors whom it paid. Because subcontractors do

not have standing to bring claims against the United States, the government argues that

the plaintiff may not bring its claim against the United States here. The government also

argues that the plaintiff is not entitled to be reimbursed based on allegedly wrongful

disbursements of progress payments because the plaintiff does not allege that it notified

the government of R&T’s default before the government made the first three progress

payments. On July 29, 2005, the SAA filed its amicus brief arguing that a payment bond

surety is subrogated to the rights of both subcontractors and the prime contractor. Oral

argument was held on April 28, 2006.4




       4
         Oral argument in this case was consolidated with the argument in two companion cases,
Commercial Casualty Insurance Co. of Georgia v. United States, No. 03-2033C, and Cincinnati
Insurance Co. v. United States, No. 05-751C. The government presented a single argument
regarding privity and jurisdiction and therefore the resolution of that issue is the same for all
three cases.

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                                       DISCUSSION

A.     Standard for Decision

       The government has filed a motion to dismiss for failure to state a claim. “[I]t is

well established that, in passing on a motion to dismiss, whether on the ground of lack of

jurisdiction over the subject matter or for failure to state a cause of action, the allegations

of the complaint should be construed favorably to the pleader.” Scheuer v. Rhodes, 416

U.S. 232, 236 (1974). “[A] complaint should not be dismissed for failure to state a claim

unless it appears beyond doubt that the plaintiff can prove no set of facts in support of his

claim which would entitle him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957).

B.     Payment Bond Sureties May Rely upon the Privity of Contract Between the
       United States and the Prime Contractor to Sue the United States

       In Commercial Casualty Insurance Co. of Georgia v. United States, No. 03-2033,

this court has issued an opinion this same day addressing the government’s argument that

payment bond sureties may not maintain claims for reimbursement in this court. This

court held that a payment bond surety steps into the shoes of the prime contractor and

asserts the prime contractor’s contract claim, and that therefore a payment bond surety

may maintain a suit against the United States for retained contract funds still in the

government’s possession. The court will not repeat the analysis here. Instead, the court

attaches its opinion in Commercial Casualty as Appendix A and adopts that reasoning.

       In this case, the government no longer possesses retained contract funds because it

made disbursements to the prime contractor and to Northern, and thus this case presents


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slightly different facts than Commercial Casualty. However, as noted in footnote 10 of

that opinion, the plaintiff may still maintain a suit against the government for

reimbursement of its costs:

       Nor is the result any different if the government no longer possesses a retained
       fund because the government improperly disbursed payment to the contractor
       after the surety notified the government that the contractor was in default. At
       the time the surety notifies the government of a contractor default, under the
       law of the Federal Circuit the government is a mere stakeholder in the
       remaining contract funds. See [Balboa Insurance Co. v. United States, 775
       F.2d 1158, 1162 (Ct. Cl. 1985)] (“[U]pon notification by the surety of
       unsatisfied claims of the materialmen, the Government became a stakeholder
       with respect to the amount not yet expended under the contract that it holds at
       the time of notification of default.”). Because the government is a mere
       stakeholder, its subsequent payment to the contractor cannot alone satisfy or
       release the contractor’s claim. Someone other than the contractor may be
       entitled to assert the claim, and therefore an adjudication of the parties’ rights
       is needed. See Ins. Co. of the West v. United States, 55 Fed. Cl. 529, 540
       (2003) (“The Government cannot forward the theory that it has discharged its
       duty under the contract, thereby depriving the Court of Federal Claims of
       jurisdiction, when it has . . . perform[ed] acts which render it a stakeholder.”).
       Therefore, even when the surety seeks recovery for a wrongfully disbursed
       progress payment, it is capable of asserting the contractor’s claim to the
       contract funds.

Commercial Casualty, slip op. at 18 n.10. Moreover, the government does not directly

argue that the fact that the government no longer holds the contract funds is a bar to the

plaintiff’s suit for reimbursement of its costs of performing its payment bond obligations.

Therefore, the court holds that the plaintiff, like the plaintiff in Commercial Casualty,

may maintain this action for reimbursement from the United States.




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C.     The Plaintiff Has Failed to State a Claim for Equitable Subrogation Because
       it Does Not Allege that it Notified the Government of R&T’s Default Prior to
       Disbursement of the First Three Progress Payments

       The government argues that even if the plaintiff may maintain a claim for equitable

subrogation, the plaintiff has failed to state such a claim because the plaintiff did not

notify the United States of R&T’s default or threatened default on the contract before the

United States made the first three progress payments. The government contends that it

has no duty to a surety to use discretion and consider a surety’s interests in disbursing

progress payments until the surety notifies the government that it believes the contractor

is in default. The plaintiff argues that the clause in the bonds directing that payments be

made to Northern was sufficient notice of R&T’s possible default, and therefore the

government was obligated to make payments to Northern rather than to R&T. The

plaintiff further argues that the discrepancies in R&T’s progress reports were sufficient to

put the government on notice of R&T’s possible default and to trigger a duty to consider

the plaintiff’s interests in disbursing progress payments.

       The court agrees with the government that the plaintiff has failed to state a claim

for equitable subrogation in this case. In order to assert the doctrine of equitable

subrogation to hold the government liable for reimbursement based on improper

disbursement of earned progress payments that are within the discretion of the contracting

officer, a payment bond surety must notify the government that the contractor is or is




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close to being in default.5 Ordinarily a surety asserts the doctrine of equitable subrogation

to acquire retained contract funds that are still in the government’s possession after

performance of the contract is complete. See, e.g., Prairie State Nat’l Bank of Chicago v.

United States, 164 U.S. 227 (1896). However, the doctrine has been expanded by the

Court of Claims and Court of Appeals for the Federal Circuit to allow a surety to recover

from the government when the government abuses its discretion in disbursing earned

progress payments.

       When a contractor defaults under the contract, the obligation of the surety then
       arises under its performance and payment bonds. . . . [U]pon notification by
       the surety of the unsatisfied claims of the materialmen, the Government
       bec[omes] a stakeholder with respect to the amount not yet expended under the
       contract that it holds at the time of notification of default.

Balboa Ins. Co. v. United States, 775 F.2d 1158, 1161-62 (Ct. Cl. 1985). Once the surety

notifies the government of default and the government becomes a mere stakeholder in the

remaining contract balance, the government is charged “with a duty of acting with

reasoned discretion,” id. at 1162, in disbursing further progress payments by “tak[ing]

reasonable steps to determine for itself that the contractor ha[s] the capacity and intention

to complete the job.” Id. at 1164. Other than this duty, the “procurement officials [have]

broad discretion and flexibility” because “during performance [the government] has a

vital interest in the ‘timely and efficient’ completion of the work.” Id. (citation omitted).


       5
          For purposes of the government’s motion to dismiss the plaintiff’s equitable subrogation
claim, it is assumed that the progress payments at issue were within the discretion of the
contracting officer, and that the prime contract did not require that payments be withheld from
R&T.

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Therefore, “[t]he standard of proof to be applied in a case where an arbitrary and

capricious disregard of the surety’s interests, and an abuse of discretion, are charged must

be, and is, high.” Argonaut Ins. Co. v. United States, 434 F.2d 1362, 1368 (Ct. Cl. 1970).

       In Ransom v. United States, 900 F.2d 242 (Fed. Cir. 1990), the Court of Appeals

for the Federal Circuit further clarified Balboa by stating that the contractor’s default

alone is not sufficient to trigger a government obligation to consider the surety’s interests

or to withhold progress payments from the contractor. Ransom makes clear that the

surety must explicitly notify the government of the default or threatened default. In that

case, prior to terminating the contract, the government notified the surety that the

government was concerned that the contractor might default. Id. at 243. The Federal

Circuit stated:

       In Balboa, this court merely held that the government becomes a “stakeholder”
       for remaining contract proceeds when a payment and performance bond surety
       notifies the government that the surety’s interest is in jeopardy because of
       default by the contractor. This holding was based upon the reasoning that once
       the surety notified the government of the contractor’s default, the surety could
       assert the equitable doctrine of subrogation. No such notice by the surety is
       alleged here.

Ransom, 900 F.2d at 245 (citations omitted).

       The government’s equitable duty to use discretion in disbursing progress payments

following notification of default is distinct from the government’s duty not to impair the

surety’s interests by altering the terms of the contract or impairing the collateral that

secures the contractor’s performance. “Apart from the pro tanto discharge rule, which . . .



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we find no occasion to peruse today [because the government did not depart from the

terms of the contract] the government as obligee owes no equitable duty to a surety like

Fireman’s Fund unless the surety notifies the government that the principal has defaulted

under the bond. . . . [N]otice by the surety is essential before any governmental duty

exists.” 6 Fireman’s Fund Ins. Co. v. United States, 909 F.2d 495, 498 (Fed. Cir. 1990).

Thus, if the disbursement of progress payments is within the discretion of the contracting

officer under the terms of the contract, then the contracting officer owes no duty to the

surety with regard to the payments until the surety notifies the contracting officer of the

contractor’s default.

       Here, the plaintiff had not explicitly notified the government of any default by

R&T at the time that the government made the first three progress payments. Although

the plaintiff included a clause in the bonds directing that payments be made to Northern

rather than to R&T, this cannot be considered a “notification” of threatened default.

Because the clause was inserted in the bonds before performance of the contract had even




       6
          Under the pro tanto discharge rule in suretyship law, if an obligee (here, the
government) breaches or alters any specific contractual provision so as to materially alter the risk
to the surety, or if the obligee impairs the collateral securing the contractor’s obligations, then the
surety’s obligations under its bond are discharged. Moreover, if the surety performs its
obligations either before such impairment or without knowledge of such impairment, then the
surety may have a claim against the obligee for its losses. See Restatement (Third) of Suretyship
& Guaranty § 37 (1996). Notification of default is not a prerequisite for a discharge claim. See
Nat’l Sur. Corp. v. United States, 118 F.3d 1542, 1547 (Fed. Cir. 1997). The discussion of the
notification issue above is therefore related only to the plaintiff’s claim for the breach of an
equitable duty to use reasoned discretion in disbursing discretionary progress payments, as
described in Balboa.

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begun, R&T could not have been in default on its performance of the contract. The

plaintiff would not have been able to assert equitable subrogation in the contract funds

before performance of the contract began. Therefore, to the extent the bond clause could

be considered a “notification,” it is not sufficient notice to trigger the government’s duty

to act with reasoned discretion in disbursing progress payments under Balboa.

       In addition, the plaintiff’s argument that the government was sufficiently on

“notice” of R&T’s potential default due to the content of its progress reports is

unsupported. In Ransom, the Federal Circuit established that the government’s equitable

duty to consider the surety’s interests is not triggered absent explicit notice either directly

or indirectly from the surety. 900 F.2d at 245. Until the surety undertakes to protect itself

by notifying the government of default and requesting that progress payments be

withheld, the government is under no duty, apart from the pro tanto discharge rule, to

protect the surety’s interests. Fireman’s Fund, 909 F.2d at 498.

       It is for this reason that the plaintiff’s reliance on Insurance Co. of the West v.

United States, 55 Fed. Cl. 529 (2003), International Fidelity Insurance Co. v. United

States, 41 Fed. Cl. 706 (1998), and Transamerica Premier Insurance Co. v. United States,

32 Fed. Cl. 308 (1994) is misplaced. In all three of those decisions, the surety, either

itself or through the contractor, had explicitly notified the government of the contractor’s

default and had requested that payments be made to the surety. See 55 Fed. Cl. at 538-39;

41 Fed. Cl. at 713; 32 Fed. Cl. at 310. Moreover, in all three cases a contract



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modification had been executed reflecting the government’s obligation to pay the surety.

55 Fed. Cl. at 539; 41 Fed. Cl. at 713; 32 Fed. Cl. at 311. Here, the plaintiff alleges

neither an explicit notification of default, which would impose an equitable duty on the

government, nor an explicit contract modification obligating the government to pay the

plaintiff rather than R&T. Accordingly, because the plaintiff has not alleged that it

explicitly notified the government of R&T’s default before the allegedly improper

disbursements of progress payments were made, it has failed to state a claim for equitable

subrogation. The government’s motion to dismiss this claim must therefore be

GRANTED.

                                       CONCLUSION

       For the foregoing reasons, the government’s motion to dismiss is GRANTED as

to the plaintiff’s equitable subrogation claim.7 The court will contact the parties to

establish a schedule for resolution of the plaintiff’s pro tanto discharge claim.

       IT IS SO ORDERED.

                                                      s/Nancy B. Firestone
                                                     NANCY B. FIRESTONE
                                                     Judge


       7
         The government also argued that the plaintiff could not assert an equitable subrogation
claim because the government does not become a mere stakeholder in the retained contract funds,
and therefore owes no duty to the surety, until performance of the contract is complete. Because
the court grants the government’s motion to dismiss based on the plaintiff’s failure to notify the
government of R&T’s default prior to the disbursement of the progress payments, the court does
not reach the issue of whether performance must be complete.
        The government did not move to dismiss the plaintiff’s pro tanto discharge claim, and
therefore the court does not reach that claim in this opinion.

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